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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                               GAINESVILLE DIVISION

       IN RE:                                        :    CHAPTER 13
       PAMELA MICHELE DAVIS                          :    CASE NUMBER G17-22337-JRS
             DEBTOR                                  :


                         WITHDRAWAL OF TRUSTEE’S
                      MOTION OBJECTING TO THE DEBTOR’S
                 DISCHARGE PURSUANT TO 11 U.S.C. SECTION 1328(f)

       COMES NOW Nancy J. Whaley, the Standing Chapter 13 Trustee, and withdraws the

Motion Objecting to the Debtor’s Discharge Pursuant to 11 U.S.C. Section 1328(f) filed by the

Trustee on October 3, 2018. (Docket entry no. 46).

       This the 2nd day of January, 2019.


                                     Respectfully submitted,

                                     _/s/______________________________
                                     Eric W. Roach,
                                     Attorney for Chapter 13 Trustee
                                     GA Bar No. 143194
                                     303 Peachtree Center Ave., NE
                                     Suite 120
                                     Atlanta, GA 30303
                                     (678) 992-1201
/scw
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                                 CERTIFICATE OF SERVICE
Case No: G17-22337-JRS

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Withdrawal of Motion Objecting to the Debtor's Discharge Pursuant to 11 U.S.C.
Section 1328(f) by depositing in the United States mail a copy of same in a properly addressed
envelope with adequate postage thereon.

Debtor(s):
PAMELA MICHELE DAVIS
POB 2198
CLEVELAND, GA 30528




By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Withdrawal of Motion Objecting to the Debtor's Discharge Pursuant to
11 U.S.C. Section 1328(f) through the Court's Electronic Case Filing system.

Attorney for the Debtor(s):
W. ROSS MCCONNELL & ASSOCIATES
grahamwf@windstream.net




This the 2nd day of January, 2019.


/s/____________________________________
  Eric W. Roach
  Attorney for the Chapter 13 Trustee
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  Suite 120
  Atlanta, GA 30303
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